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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                     Plaintiff,                                  4:12CR3041
       vs.
                                                      MEMORANDUM AND ORDER
CLEOPHUS A. COLLIER, DARRIUS D.
MASON, LARRY J. MASON,
                     Defendants.


       Defendant Larry Mason has moved to continue the pretrial motion deadline, (filing
no. 47), and the trial of this case, (filing no. 46), because defense counsel needs additional
time to fully review the discovery received before deciding if pretrial motions should be
filed. Counsel for the government does not oppose the requested continuance. Based on
the showing set forth in the motion, the court finds the motion should be granted.


       IT IS ORDERED:

       1)    Defendant Larry Mason’s motion to continue the pretrial motion deadline,
             (filing no. 47), is granted.

       2)    As to all defendants, pretrial motions and briefs shall be filed on or before
             June 25, 2012.

       3)    Defendant Larry Mason’s motion to continue the trial, (filing no. 46), is
             granted.

       4)    As to all defendants, trial of this case will commence on August 21, 2012
             before the Honorable John M. Gerrard for a period of four (4) trial days. Jury
             selection will be held at the commencement of the trial.

       5)    The ends of justice served by granting the motions to continue outweigh the
             interests of the public and the defendant in a speedy trial, and the additional
             time arising as a result of granting the motions, the time between today’s date
             and August 21, 2012, shall be deemed excludable time in any computation of
             time under the requirements of the Speedy Trial Act, for the reason that the
             parties require additional time to adequately prepare the case, taking into
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         consideration due diligence of counsel, the novelty and complexity of the
         case, and the fact that the failure to grant additional time might result in a
         miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

    Dated this 12th day of June, 2012.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge




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